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                                                                                       of 2
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                                                                                ELECTRONICALLY FILED
                                                                                DOC #:
                                                                                DATE FILED: 1/29/2025




Arjeta Albani, Esq.
arjeta@employeejustice.com
                                                              January 28, 2025

VIA ECF
Honorable Mary Kay Vyskocil
United States District Judge
Southern District of New York
500 Pearl Street, Room 18C
New York, New York 10007-1312

                             Re: Tavon Turner v. Awake Store LLC
                                1:24-cv-07992-MKV

Dear Judge Vyskocil:

       We represent Plaintiff Tavon Turner in the above-referenced matter. We write to
respectfully respond to the Court's Order dated January 21, 2025, regarding our failure to comply
with the Rules of the Court regarding our obligation to prosecute a case.

        At the outset, we sincerely apologize to the Court for our failure to file for default once it
was clear that Defendant would not be appearing, nor filing an Answer to our Complaint. This
failure was not intentional, but rather the result of an unfortunate internal miscommunication
within our office.

        Recently, the firm has undergone restructuring, and the undersigned has been assigned as
the new Chief of the ADA Division to ensure that there are no future oversights such as the one in
this case. I started working in the position as of December 18, 2024, with the goal of clearing a
backlog of cases from the SDNY docket, including this one. We have now fully resolved the
staffing issues and have re-established a stable and effective workflow. However, while I was in
the process of taking over the ADA Division and getting fully up to speed, there was an unfortunate
miscommunication in this matter.
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                    By way of explanation, our office had internally decided to file both a default judgment
             and an exploratory letter to the Defendant’s company directly on December 10, 2024, as no
             attorney had yet appeared nor contacted our firm. We routinely send certified letters of inquiry
             and/or E-mails to companies the week prior to a defendants deadline to file an Answer is due. If
             no answer is forthcoming, we then file the appropriate documents to file for default. Here, on
             December 10, 2024, we sent both an email and a certified letter, return receipt requested to
             Defendant, Micheanggello Rojo, Owner/Proprietor of Awake Store, LLC, located at 132
             Havemeyer Street, Brooklyn, NY 11211. Unfortunately, Defendant did not reply, nor did any
             counsel representing defendant appear. See Exhibits A, B

                    However, due to a significant miscommunication between the attorneys and support staff,
             we did not file for default, despite our earlier attempt to contact the defendant by letter and email.

                     We respectfully submit that these circumstances, while serious, were the result of an
             inadvertent miscommunication rather than any intentional disregard for the Court's Rules. We
             assure the Court that we take our obligations as officers of the Court with the utmost seriousness.
             We respectfully request that given the inadvertence of counsel’s failure to timely file for default.

                    We thank the Court for its consideration of this matter.
In response to this Court's Order to Show Cause, [ECF No.
7], Plaintiff's counsel states that they had sent an
"exploratory letter" to Defendant on December 10, 2024, and
cites to Exhibits A and B. However, no exhibits were attached
nor do they appear anywhere on the docket. Plaintiff is
directed to file these exhibits to complete the record on or
                                                              Sincerely,
before February 5, 2025.

Plaintiff further states that due to internal
miscommunications they failed to move for default as
intended. Plaintiff shall move for default on or before        ___________________________
February 26, 2025.                                             Arjeta Albani, Esq.
                                                               JOSEPH & NORINSBERG, LLC
Plaintiff is on notice that failure to move for a default      Attorney for Plaintiff
judgment by February 26, 2025 may result in dismissal of this 110 East 59th Street, Suite 2300
action for failure to prosecute, pursuant to Rule 41(b) of the New York, New York 10022
Federal Rules of Civil Procedure.                              Tel. No.: (212) 791-5396
                                                               Fax No.: (212) 406-6890
Any extension request must be received 72 hours prior to the arjeta@employeejustice.com
deadline.

SO ORDERED.


           1/29/2025
